Case: 1:09-cv-01221 Document #: 142-2 Filed: 08/19/09 Page 1 of 2 PagelD #:1246

IN THE UNITED STATES DISTRICT COURT FOR THE NORTHERN DISTRICT OF ILLINOIS,
EASTERN DIVISION

BRADLEY J. SCHAUFENBUEL; ROBERT N.
SCHAUFENBUEL; JOHN AND SARAH REED,
IV; JOHN AND JAN REED, OI; AMERICAN
MASS MEDIA CORPORATION; ROBERTA K.
CLARK; on behalf of Themselves and All Others
Similarly Situated

V.

INVESTFORCLOSURES FINANCIAL, L.L.C

ROI DEVELOPERS; INVESTFORCLOSURES;
INVESTFORCLOSURES.COM, LLC;
INVESTFORCLOSURES VENTURES; LLC
SANDS OF GOLD ESCROW; SANDS OF GOLD; )
ROI FINANCIAL; REALTY OPPORTUNITIES } )
INTERNATIONAL ESCROW 23; ROI ESCROW; )
REALTY OPPORTUNITIES INTERNATIONAL _)
S.de R.L. de C.V; REALTY OPPORTUNITIES  )
INTERNATIONAL; ROI MEXICO; SANDS OF _ )
GOLD ESTATES; FRANCIS X. SANCHEZ )
aka FRANK SANCHEZ; JAMES D. BOURASSA )
aka JIM BOURASSA; SCOTT D. WESSEL; )
DEANA M. GUID]; DANIEL E, FITZGERALD — )
aka DAN FITZGERALD; SCOTT R. SLAGLE; +)
DARCEY L. MARTIN; TOM RODRIGUEZ; and)
JOHN DOES 1-30. Defendants.)

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Plaintiffs, )
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Case No. 09-cv-122]
The Honorable Judge Leinenweber

CERTIFICATE OF SERVICE

To: See Attached Service List

I, Russell W. Baker, an attorney, hereby certify that I caused copies of the Defendants Darcey
L. Martin, Deana M. Guidi and Tom Rodriguez’s Motion for Clarification, to be served upon all persons
on the attached Service List, via electronic filing and via U.S. Post, deposited at approximately 5:00 p.m.

at Crystal Lake, IL, on August 19, 2009.

By: /s/ Russell W. Baker

Russell W. Baker #6287995

Charles A. Dunlop ARCD#6180628
Campion, Curran, Dunlop & Lamb, P.C.
8600 U.S. Hwy 14, #201

Crystal Lake, IL 60012-2759

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Attorneys for Deana Guidi, Darcey
Martin and Tom Rodriguez
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SERVICE LIST

Schaufenbuel et al. v. Investforclosures Financial, L.L.C. et al.

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Case No, 09-cv-122]

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